       Case 3:19-cv-00219-M Document 1 Filed 01/28/19                   Page 1 of 38 PageID 1



                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                          DALLAS DIVISION



  MA LEG PARTNERS 1,                                  §
                                                      §
        Plaintiff.                                    §
                                                      §
  V.                                                  § CIVIL ACTION NO.
                                                      §
  CITY OF DALLAS,                                     §
                                                      §
       Defendant.                                     §

                                             COMPLAINT

TO THE HONORABLE U.S. DISTRICT COURT JUDGE:

          MA LEG PARTNERS 1 files this Complaint against the City of Dallas (the "City" or

"Defendant"), and in support thereof shows the Court as follows:

                                  I. PRELIMINARY STATEMENT.

          1.         The purpose of Chapter 27 in the Dallas City Code is to establish and

maintain minimum property standards in order to preserve the City's residential and non-

residential structures and thereby protect the citizenry's health, safety, morals, and

welfare.^ To accomplish that purpose the ordinance prescribes regulatory requirements
for owning and operating single tenant and multi-tenant dwelling unit rental or

condominium properties.^ The City's authority to regulate property owners' business

activity in order to protect the citizenry's health and safety is not in dispute. Disputed here

is the nature and extent of such regulation as it impacts property owners' rights.


^ The City of Dallas substantially amended Dallas City Code Chapter 27, now titled "Minimum Property
  Standards," effective January 1,2017. A true and correct copy of Chapter 27, as amended. Is attached as
  exhibit A. Specific provisions In Chapter 27 are referred to herein as "section" or "sec."
2 Chapter 27's registration requirements for multlfamlly dwelling rental or condominium properties are not
  at Issue In this Complaint.


COMPLAINT-Page 1
610-007 -Complaint
       Case 3:19-cv-00219-M Document 1 Filed 01/28/19               Page 2 of 38 PageID 2



          2.         Requiring property owners to "register" a rental property with the City can

properly be a means for gathering housing data, monitoring and evaluating housing stock,

and enforcing health and safety standards for that housing. However, Chapter 27's multi-

document registration is flawed by its requirement that property owners provide

constitutionally protected private information as a pre-condition to leasing their property.

When the required information is in the property owner's business records—^for example,

financing or insurance data—it is entitled to Fourth Amendment privacy protection.

Requiring such information as part of the registration documents is an infringement on the

property owner's rights in a manner not tied to Chapter 27's purpose of protecting the

citizenry's health and safety. Similarly, if the data sought pertains to individuals who own

the property-owning entity rather than to the entity itself, a rational connection is missing

between the ordinance's purpose and the government's actions pursuing that purpose.

          3.         Chapter 27 has a legitimate purpose in enforcing health and safety standards

for rental housing by inspections and other enforcement procedures. However, the

inspection process as implemented is flawed by inconsistencies and inequities, which

violate the property owner's Fifth and Fourteenth Amendment due process rights as well

as Fourteenth Amendment right to equal protection.

          4.         Three different sections in Chapter 27 allow the City to seek a warrant. But

each of those sections, after speaking the word "warrant," says nothing about how, where,

and when the City must seek the warrant, or what participation the property owner is

permitted in the process. Simply calling for a warrant without specifying procedures for

issuance ofthe warrant cannot constitute constitutionally mandated precompliance review.




COMPLAINT-Page 2
610-007 -Complaint
       Case 3:19-cv-00219-M Document 1 Filed 01/28/19                Page 3 of 38 PageID 3


          5.         Further, by providing that violations can be civil and/or criminal but without

specifying criteria, guidelines, or due process for when a violation is one or the other (or

perhaps both). Chapter 27 produces an unpredictable, inequitable, and at times

excessively punitive enforcement regime. This lack of focus allows minor violations to be

prosecuted as criminal, thereby creating disproportionately dire risks for property owners.

The punitiveness of such prosecution is enhanced by defining a violation as occurring one

day at a time, thereby imposing a fine for each day the violation persists. The result,

predictably, is fines calculated in onerous dollar amounts for minor violations.

          6.         This lawsuit concerns these and other Chapter 27 provisions which violate

the rights of rental property owners under the First, Fourth, Fifth, Seventh, Eighth, and

Fourteenth Amendments of the U.S. Constitution, as well as other federal and state law

provisions.

                                 II. PARTIES. JURISDICTION. AND VENUE.

          7.         MA LEG PARTNERS 1, Plaintiff, is a Texas joint venture with its principal

office located at 1521 North Glenville Drive, Richardson, Dallas County, Texas 75081.

Plaintiff is in the business of owning and operating single tenant dwelling unit rental

properties located in the City of Dallas, including 2422 BIythe Drive. Plaintiffs business is

subject to Chapter 27.

          8.         Defendant City of Dallas is a municipal corporation organized and existing

under the laws of the State of Texas and located in this judicial district. The City can be

served with process through its mayor, clerk, secretary, or treasurer at the City's offices,

1500 Marilla Street, Dallas, Dallas County, Texas 75201.




COMPLAINT-Page 3
610-007 -Complaint
       Case 3:19-cv-00219-M Document 1 Filed 01/28/19                  Page 4 of 38 PageID 4


          9.         This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This

action arises under the First, Fourth, Fifth, Seventh, Eighth, and Fourteenth Amendments

to the U.S. Constitution, and 42 U.S.C. §§ 1983 and 1988, and 28 U.S.C. § 2201, etseq.

          10.        Venue is properly in this Court pursuant to 28 U.S.C. § 1391.

          11.        All conditions precedent to the filing of this Complaint and the claims set forth

herein have been performed, satisfied, waived, or have occurred.

          12.        All actions by the City described herein have been under color of state law

and have caused the deprivation of Plaintiffs rights protected by the U. S. and Texas

Constitutions.


                                     III. FACTUAL BACKGROUND.

          13.        Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.

A.        CHAPTER 27'S FIRST PRINCiPLES.

          Purpose.

          14.        On September 28, 2016, the Dallas City Council adopted ordinance number

30236 amending Chapter 27 of the Dallas City Code. The ordinance was published on

October 1, 2016. Certain sections of the ordinance became effective immediately after

passage and publication; all other sections became effective on January 1, 2017, and

remain in effect.

          15.        Chapter 27 makes certain legislative findings of fact as to the existence in

the City of "structures used for human habitation and nonresidential purposes that are




COMPLAINT-Page 4
610-007 -Complaint
          Case 3:19-cv-00219-M Document 1 Filed 01/28/19                   Page 5 of 38 PageID 5


substandard in structure and maintenance."^ Other unsatisfactory conditions such as lack

of proper heating and overcrowding are identified as constituting "a menace to the health,

safety, morals, welfare, and reasonable comfort" of Dallas citizens.'* These conditions "will

create slum and blighted areas requiring large scale clearance, if not remedied."® Further,

absent "corrective measures, such areas will experience a deterioration of social values,

a curtailment of investment and tax revenue, and an impairment of economic values."® To

address these issues Chapter 27 seeks the "establishment and maintenance of minimum

structural and environmental standards [that] are essential to prevention of blight and

decay and the safeguarding of public health, safety, morals, and welfare."^

             16.     With those findings as predicate, section 27-2(a) states:

                     The purpose of this chapter is to protect the health, safety,
                     morals, and welfare of the citizens of the city of Dallas by
                     establishing minimum standards applicable to residential and
                     nonresidential structures. Minimum standards are established
                     with respect to utilities, facilities, and other physical
                     components essential to make structures safe, sanitary, and
                     fit for human use and habitation.®

             17.     Section 27-2(b)finds Chapter 27 "to be remedial and essential to the public

interest,"® and provides that, "All structures within the city on the effective date of this

chapter, or constructed thereafter, must comply with the provisions of this chapter."*®




3 Sec. 27-1. This Complaint deals solely with single dwelling unit rental properties. See definition In note 11
    infra.
"   Id.
5   Id.
6   Id.
7   Id.
8 Sec. 27-2(a).
9 Sec. 27-2(b)
  Sec. 27-2(b)


COMPLAINT-Page 5
610-007 -Complaint
       Case 3:19-cv-00219-M Document 1 Filed 01/28/19                      Page 6 of 38 PageID 6


B.        REGISTRATION BY PROPERTY OWNERS.

           The Registration Process.

          18.        Before a single dwelling unit^^ rental property is allowed to be "occupied or

leased," the owner, landlord, or property manager^'* must submit a rental registration

application^® containing certain "true and correct information" on a form provided by the

City.^® Section 27-31(b) provides that a registration application "must be submitted before

the owner leases the property . . .            An owner who allows a property to be occupied or

leased without first submitting an application commits an offense,^^ which may be

prosecuted civilly or criminally.^®

          19.        A registration fee must be paid when the application is submitted. On

information and belief, the present annual registration fee is $43 per single dwelling unit

rental property. MA LEG PARTNERS 1 does not know how the City uses the revenue

collected for the registration fee.




11 "SINGLE DWELLING UNIT means a single family or duplex, as defined in the Dallas Development Code,
   as amended, or a condominium dwelling unit." Section 27-3(36). The Dallas Development Code defines
   "DWELLING UNIT" as "one or more rooms designed to be a single housekeeping unit to accommodate
    one family and containing one or more kitchens, one or more bathrooms, and one or more bedrooms."
    Dallas Development Code, sec. 51A-2.102(34) in the Dallas City Code.
12 "OWNER means a person who has ownership or title of real property,"—(A)"including but not limited to"
   in part "the holder of fee simple title," "a mortgagee," "the named grantee in the last recorded deed;" or
   (B)"the owner's representative with control over the property." Sec. 27-3(24).
1® "LANDLORD" is defined from Texas Property Code § 92.001(2) as "the owner, lessor, or sublessor of a
   dwelling, but does not include a manager or agent of the landlord unless the manager or agent purports
   to be the owner, lessor, or sublessor in an oral or written lease." Sec. 27-3(18).
14 "PROPERTY MANAGER means a person who,for compensation, has managing control of real property,
    including an on-site manager of a building or structure." Sec. 27-3(29).
15 Sec. 27-30(a) and (c).
16 Sec. 27-32(a).
1^ Sec. 27-30(a) and (c).
18 Sec. 27-4.


COMPLAINT-Page 6
610-007 -Complaint
       Case 3:19-cv-00219-M Document 1 Filed 01/28/19                   Page 7 of 38 PageID 7



          20.        A property's registration "expires one year after the registration date."^®

Registration is an annual event.^® During the year, the registrant"shall keep the information

contained in its registration application current and accurate," and "shall promptly notify

the director^^ in writing" of any changes in the information previously provided.

          21.        For a single dwelling unit rental property,^^ section 27-32(a) lists twelve

categories of information to be provided on the unsworn application submitted as part of

the registration. Sec. 27-32(b) lists five items of additional information which the rental

property owner must certify as true by affidavit submitted as part of the registration. The

fifth item on the affidavit pertains to a third document—in addition to the application and

the affidavit—^to be submitted as part of the registration, attesting (i) that a recent self-

inspection of the property by the owner or its agent has occurred, and (ii) to the property's

interior and exterior condition in specified categories.^'^

          22.        On or about September 12, 2018, MA LEG PARTNERS 1 received in the

mail a Notice of Violation on which the spaces for the inspector's signature and the date

(next to the signature) were blank. In the section titled "Work Must Be Completed Within

30 Days Or Citation May Be Issued," the box was checked which states: "Submit rental

registration/annual renewal application (27-30)."2® MA LEG PARTNERS 1 has not



19 Sec. 27-31(0).
20 Sec. 27-31(a).
21 "DIRECTOR means the director of the department designated by the city manager to enforce and
    administer this chapter and includes representatives, agents, or department employees designated by
    the director. Sec. 27-3(10).
22 Sec. 27-31(g).
20 "RENTAL PROPERTY means a multitenant property or a single dwelling unit that is leased or rented to
   one or more persons other than the owner of the property, regardless of whether the lease or rental
   agreement is oral or written, or the compensation received by the lessor for the lease or rental of the
   property is in the form of money, services, or any other thing of value." Sec. 27-3(32).
24 Sec. 27-32(b)(5).
25 A true and correct copy of this Notice of Violation is attached as exhibit B.

COMPLAINT-Page 7
610-007 -Complaint
       Case 3:19-cv-00219-M Document 1 Filed 01/28/19                      Page 8 of 38 PageID 8


registered the rental property identified in this Notice. The City has not issued a citation

based on this Notice.


           The "Application" Required To Reaister.^^

          23.        To register a rental property, as required by Chapter 27, a property owner

must submit, among other documents, an application. MA LEG PARTNERS 1 contests

certain requirements for that application, as set forth herein.

          24.        Section 27-32(a)(1)(D):

                       (D) the holder of any deed of trust or mortgage lien on the
                     rental property being registered:

A deed of trust or mortgage lien, if recorded, is publicly available. If providing the holder

named in the recorded document satisfies this requirement, then this information request

is unobjectionable. However, deeds of trust and mortgages can be transferred to

successive holders by unrecorded instruments. And, since the lending transaction itself is

frequently "serviced" by a firm that is not the holder, the property owner (borrower) may

only know the servicer. (Adding to the confusion here, the term "owner" is defined in

section 27-3(24) to include "a mortgagee.") This information is well within a property

owner's expectation of privacy. Further, the mortgage information required by section 27-

32(a)(1)(D) lacks any rational nexus to Chapter 27's purpose and is far removed from the

enforcement necessities of Chapter 27.




2® A true and correct copy of the Single Family Rental Registration Program Guide, as presently posted on
   the City's website, is attached as exhibit C. The registration application itself is accessed online through
   a website portal.


COMPLAINT-Page 8
610-007 -Complaint
       Case 3:19-cv-00219-M Document 1 Filed 01/28/19                Page 9 of 38 PageID 9


          25.        Section 27-32(a)(1)(E):

                       (E) any Insurance carriers providing casualty insurance to
                     the owner covering the rental property or condominium
                     association being registered (and providing the applicable
                     policy number(s)):

Insurance policy information is not readily identifiable, especially for owners with multiple

properties and with a given property's coverages assigned piecemeal to different policies.

This business information is well within a property owner's privacy right, lacks any rational

connection to Chapter 27's purpose and is far removed from the enforcement necessities

of Chapter 27.

          26.        Section 27-32(a)(3):

                       (3) . . . as well as the name and mailing address for each
                     principal officer, director, general partner, trustee, manager,
                     member, or other person charged with the operation, control,
                     or management of the entity;

The requirement set forth in section 27-32(a)(3) calls for personal details of the individuals

or firms that own and/or operate a property-owning entity, whereas Chapter 27's regulatory

purview extends to the property-owning entity itself, not its owners. The City's proper

concern is with the entity that owns the property, not with its owners. The personal

information required by this section is within the property owner's right of privacy

protection, lacks any nexus to Chapter 27's purpose, and is far removed from the

enforcement necessities of Chapter 27. In addition, by requiring personal details about the

individuals or entities that own the property-owning entity in order to complete the

registration. Chapter 27 breaches Texas' well-established recognition of and respect for

the corporate form.




COMPLAINT-Page 9
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                Page 10 of 38 PageID 10




          27.       Section 27-32(a)(4):

                    (4) the location of business records pertaining to the rental
                    property.. .required to be maintained by section 27-38 of this
                    article;

Compelling disclosure of"the location of business records pertaining to the rental property"

is an enforcement device with no rational nexus to Chapter 27's regulatory purpose. As

for section 27-38 titled "Registrant's Records"—cross-referenced by section 27-32(a)(4)—

its requirement that the property owner "maintain at a single location within the city of

Dallas ... the business records of the rental property ... being registered" likewise lacks

any rational connection to Chapter 27's purpose and is an improper enhancement of the

City's enforcement tools for Chapter 27. Finally, compliance by an out-of-state property

owner is surely burdensome, perhaps impossible.

         28.        Section 27-32(a)(5):

                    (5) the official recording information (e.g., volume, page, and
                    county of recording) for the owner's deed and any other
                    instruments evidencing ownership of the rental property ... ;

"Official recording information" required by section 27-32(a)(5) obviously refers to matters

of public record. But, "any other instruments evidencing ownership of the rental property"

need not be public and can be numerous. As with section 27-32(a)(1)(D), existing public

information meets the City's informational needs to fulfill Chapter 27's regulatory purpose.

Any attempt to go behind that record violates the property owner's privacy rights, lacks

any rational connection to Chapter 27's purpose, and is far removed from the enforcement

necessities of Chapter 27.




COMPLAINT-Page 10
610-007-Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                   Page 11 of 38 PageID 11


          29.        Section 27-32(a)(6):

                     (6) a list of all businesses, whether for-profit or non-profit,
                     operating out of the property and offering goods or services to
                     persons residing at or visiting the property;

The information identified in section 27-32(a)(6) concerns tenant, not property owner,

activity. Requiring this information from the property owner is an improper intrusion into

the property owner's contractual dealings with the tenant. The City's regulation of this

activity can and should be directed to the tenant and the business in question, not the

property owner. Converting the property owner into an investigative agent for the City is

an improper delegation of governmental authority.

          Business Records Requirements.

          30.        The registration application must also contain information as to "the location

of business records pertaining to the rental property.. .required to be maintained by

section 27-38...             Those records must be located "at a single location within the City of

Dallas."^® If the City's access to these records is refused by the registrant, then the City
"may seek a court order to inspect the records."^^

          31.        Business records required by Sec. 27-38(b) include, in pertinent part:

                     (1)the current certificate of occupancy for the property,

                     (2)the deed evidencing ownership of the property,

                     (3)the current registration application filed for the property,

                     (4)swimming pool-related information,

                     (5)"leases ... applicable to the property,"


27 Sec. 27-32(a)(4).
28 Sec. 27-38(a).
29 Sec. 27-38(a).

COMPLAINT-Page 11
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                 Page 12 of 38 PageID 12


                     (6)the crime prevention addendum required by Code section 27-43 for each

          tenant of the property,

                     (7)... [pertains only to multi-family properties],

                     (8)"a record of each tenant complaint" with pertinent follow-up details, and

                     (9) a copy of the self-inspection report required by Code sections 27-

          32(b)(5)."30

          32.        Section 27-38(b)'s burdensomeness is immediately apparent. The

documents called for by (1), (3), and (9) are already in the City's possession, and the

document called for by(2) is a matter of public record. The documents specified in (5),(6),

and (8)are subject to the property owner's significant privacy interests which protect them

from disclosure.

          Information and Records "Deemed Necessary."

          33.        Two sections, both dealing with information required for a property's

registration, have the same deficiency. Per Section 27-32(a)(8), information for the

registration application includes—

                     (8) any additional information the registrant desires to include
                     or that the director deems necessary to aid in the
                     determination of whether the registration application will be
                     deemed complete.

And, per section 27-38(b)(10), information contained in the property owner's business

records must include—

                     (10) any other records deemed necessary by the director for
                     the administration and enforcement of this article.




30 Sec. 27-38(b).

COMPLAINT-Page 12
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                      Page 13 of 38 PageID 13


          34.        Both sections are improperly vague from the perspectives of both the City's

director and the registering property owner. If the director unilaterally adds a requirement

for certain information, that amounts to an amendment of the ordinance without approval

by the city council. Further, this vagueness is an open invitation to requiring property

owners to produce privacy-protected information in violation of the Fourth Amendment,

without any sort of pre-compliance review in violation of the Fifth Amendment. The

"additional information" required from one property owner can be different from that

required from other property owners in violation of the Fourteenth Amendments equal

protection requirement.

          35.        As for section 27-38(b)(10), this provision has the same deficiencies as

section 27-32(a)(8). Not only is it wholly vague, it allows the director to in effect unilaterally

amend Chapter 27 on a case-by-case basis, with heightened risk of differing requirements

for different property owners in violation of the Fourteenth Amendment's equal protection

requirement.

          The "Affidavit" Required to Reaister.^^

          36.        Section 27-32(b) requires that, "in addition to the application containing the

information enumerated above, the owner must also provide an affidavit certifying that the

following statements are true." Those required statements are:

                        (1) there are no outstanding and unpaid ad valorem taxes
                     or city liens applicable to the rental property being registered;

                         (2) operation of the rental property          as currently
                     configured does not violate the city's zoning ordinance;




   A true and correct copy of the required affidavit, as presently posted on the City's website, is attached as
   exhibit D.


COMPLAINT-Page 13
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                       Page 14 of 38 PageID 14


                        (3) [not applicable to single family rental property];

                         (4) if the rental property owner is an entity required to be
                     registered or incorporated in its jurisdiction of formation, said
                     entity is duly formed, existing, and in good standing with the
                     jurisdiction; and

                        (5) if the rental property is a single dwelling unit rental
                     property, the owner or the owner's agent inspected the interior
                     and exterior of the rental property within the 60 days prior to
                     the submission of the application and the results have been
                     recorded on a form provided by the director.

          37.        The statements required by section 27-32(b) must be re-certified under oath

in connection with each annual renewal of an application.

          38.        Sections 27-32(b)(1),(2), and (4) require that the owner certify by affidavit to

what is in essence a legal opinion regarding certain publicly available information, which

the property owner is likely unqualified to assess or evaluate. The owner must also certify

by that affidavit that the self-inspection by the property owner or its agent, as required by

sec. 27-32(b)(5), occurred.^^

          39.        The required self-inspection is of "the interior and exterior of the rental

property." The results of that self-inspection are recorded on a form titled "Owner's Self-

Inspection Checklist" provided by the City.^® This form, submitted as part of the registration

documentation, is separate from the affidavit required by sections 27-32(b)(1),(2), and (4).




   Section 27-32(b){3) is not at issue here because it pertains to rental property that is multitenant or part
   of a condominium.
   Sec. 27-31(h)(In the application for renewal of a registration, "[t]he registrant shall also submit a new,
   current affidavit certifying the matters identified in subsection 27-32(b) of this article.").
34 As noted in paragraph 30, section 27-32(b)(3) is inapplicable to this proceeding.
35 A true and correct copy of the Owner's Self-Inspection Checklist is attached as exhibit E.

COMPLAINT-Page 14
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19               Page 15 of 38 PageID 15


Further, the form is not sworn to; rather, the signature constitutes an attestation that the

form's checklist is, in fact, "for the property located at

          40.        The self-inspection form has sections identified as interior, exterior, and

general violations; and, within those sections there are entries for exterior topics, for

example, roofs, gutters, handrails and guardrails, etc., and interior topics, for example,

bedrooms, kitchen, etc. Boxes are checked (or not) regarding various aspects of each

identified area, for example, that the interior walls and ceilings have "no holes, cracks, or

loose surface materials."

          41.        Not only does section 27-32(b)(5) provide no standards or criteria to be

applied by the self-inspection, thereby effectively denying the property owner of Fifth and

Fourteenth Amendment due process protection, it also assigns no significance for the self-

inspection's results. This meaninglessness is further amplified by the fact that the

inspector—^that is, the property owner or its agent—is not required to be qualified for the

task.


C.        PROPERTY INSPECTIONS BY THE CITY.

          42.        Chapter 27's purpose "to protect the health, safety, morals, and welfare of

the citizens of the city of Dallas" is to be achieved "by establishing minimum standards

applicable to residential and nonresidential structures,"^® and then enforcing those

standards by a regime of City inspections spelled out in several sections of the ordinance.

          43.        These City inspections combined with the City's broader program for code

enforcement are directed to and premised upon enforcement of minimum property

standards specified in section 27-11. The standards on their face are not objectionable


36 Sec. 27-2{a).


COMPLAINT-Page 15
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                   Page 16 of 38 PageID 16


and generally align with similar provisions widely adopted by other municipalities.

 However, problems arise in Dallas because of uneven, inconsistent, unpredictable, and

inequitable enforcement effected by the present City inspection regime. The consequence

of such enforcement is to deprive property owners of their due process and equal

 protection rights under the Fifth and Fourteenth Amendments.

          44.        The ordinance states explicitly that property inspection is "[f]or the purpose

of ascertaining whether violations of this chapter or other city ordinances exist. . .

Section 27-5 titled "Inspection" and section 27-42 titled "Property Inspections; Inspection

and Reinspection Fees" are the pertinent sections. Inspections pursuant to section 27-42

are in addition to inspections conducted pursuant to section 27-5.^®

           The Inspection Process.

          45.        Section 27-5 provides:

                            (a) For the purpose of ascertaining whether violations
                     of this chapter or other city ordinances exist, the director is
                     authorized, at a reasonable time, to inspect:

                                 (1)the exterior of a structure and premises that do
                     not contain a structure; and

                                 (2)the interior of a structure, if the owner,occupant,
                     or person in control give his permission to the director.

                           (b) Nothing in this section limits the director's ability to
                     seek and obtain an administrative search warrant authorizing
                     an interior or exterior inspection of a structure or a vacant
                     premises.

          46.        A common practice of City inspectors when issuing a citation for violation of

Chapter 27's minimum property standards is to note on the citation itself the section/sub-


37 Sec. 27-5(a).
38 Sec. 27-42(c).

COMPLAINT-Page 16
610-007 -Complaint
      Case 3:19-cv-00219-M Document 1 Filed 01/28/19               Page 17 of 38 PageID 17


section of Chapter 27 which states the applicable standard but without specifying where

the violation exists on the property or in the structure. Unlike in some municipalities, Dallas

code inspectors do not attach to the notice of violation a photo of the actual violation. This

absence of informative notice creates significant hurdles for both effective communication

 between the City and the property owner, and prompt, efficient, less costly resolution of

identifiable violations. It also deprives the property owner of adequate notice of violations

and fair opportunity to cure. In contrast, interestingly, if the City determines that an

application submitted to comply with section 27-30's registration requirement is "materially

incorrect or misleading," then the City "shall promptly notify the registrant that the

application is defective or incomplete and ... shall list the defects or missing items."^^

          47.        Another common practice of City inspectors is to issue a notice of violation

to the property owner for a violation such as "trash put out early," which is obviously and

only caused by the tenant. In most instances the fine for this violation is readily collectible

from the tenant via the water bill for the property. The tenant is an independent actor from

the landlord. The City can and should identify and pursue the violation's actual perpetrator.

          48.        The City's inspection process creates a continuing catch-22 for property

owners and inspectors alike. Inspection of and enforcement for a given property often
involves multiple inspectors. As a result, the inspector who issues the initial notice is not

required to be the inspector who determines if the violation has been cured. Further, each

inspector's interpretation of what satisfies particular minimum property standard, for

example, for plumbing or electrical, will differ in many instances from other inspectors.

With such variances in code enforcement standards, not surprisingly the property owner


39
     Sec. 27-33(c)(emphasis added).

COMPLAINT-Page 17
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                    Page 18 of 38 PageID 18


can only guesstimate what actions will cure a particular violation and achieve code

compliance for a given property. "Operating condition" may be definable'^® but applying

that definition equitably is difficult. Even more painfully for the property owner,the penalty

for a violation begins accruing from the date on the notice of violation, not the date the

notice is received by the property owner.

          49.        The provisions in section 27-42—Chapter 27's other inspection section—

pertaining to single dwelling unit rental property are limited: (i) The City "shall conduct" an

inspection of such a property "at least once every five years but not more frequently than

once a year." And (ii), various inspection fees are set.

          50.        This lack of specificity in the City's notice of violation vitiates any notion that

the "notice" of violation in fact provides "notice." This deficiency is matched by various

inspectors' inconsistent, disjointed application of the minimum property standards to the

same property or across multiple properties. These problems in how the City conducts

inspections reek of due process and equal protection failure for the property owner.

D.        WARRANTS UNDER CHAPTER 27.

          51.        Three separate provisions in Chapter 27 authorize the City to seek a warrant

in order to accomplish the ordinance's enforcement goals. None of them creates the

requisite architecture for a warrant issuing process. Absent procedural details the word

"warrant" is a mere nicety, devoid of the constitutional protections to which the property

owner is entitled.




   "OPERATING CONDITION means free of leaks, safe, sanitary, structurally sound, and in good working
   order." Sec. 27-3(23).


COMPLAINT-Page 18
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                    Page 19 of 38 PageID 19


          52.        The broadest warrant authorization is in section 27-3.1(c): "The code

enforcement official has the power to obtain: (1) search warrants for the purpose of

investigating a violation of a health and safety or nuisance abatement, including an urban

nuisance, regulation, statute, or ordinance;... ." The purpose is valid but the section, as

with much of chapter 27, lacks necessary details.

          53.        In addition to the owner, a property's "occupant^^ or the person'^^ in control"

is empowered pursuant to Section 27-5(a)(2) to grant permission for inspection of the

property's interior, despite the fact that the occupant's leasehold interest does not preclude

or extinguish the property owner's continuing interest in the property and concomitant right

to deny permission for inspection. The result under this section is that while the owner is

allowed to refuse permission for an inspection, the property's occupant or person in control

can separately grant access and thereby waive the warrant requirement which the property

owner intended to invoke. If inspection permission is not given, the City has the "ability to

seek and obtain an administrative search warrant authorizing an interior or exterior

inspection of a structure or a vacant premises" pursuant to section 27-5(b).

          54.        Chapter 27 also provides for a judicial remedy to compel inspection of a

property owner's business records, as distinct from the property itself. Section 27-38(a)

specifies that if the property owner "refuses to make these[business] records available for

inspection by the director," then the City "may seek a court order to inspect the records."

          55.        None of these three separate warrant provisions contains even a single

procedural detail: which court can issue the warrant; is a hearing required, and if so, on

41 "OCCUPANT means a person who has possessory rights to and is actually in possession of a premise."
   Sec. 27-3(21).
   "PERSON means any natural person, corporation, organization, estate, trust, partnership, association, or
   other legal entity." Sec. 27-3(25).

COMPLAINT-Page 19
610-007 -Complaint
      Case 3:19-cv-00219-M Document 1 Filed 01/28/19                    Page 20 of 38 PageID 20



 how much prior notice, given to whom, by what means; and, what is the burden of proof

to be met by the City. Without such procedural requirements. Chapter 27's warrant

 provisions do not constitute precompliance review, and thus do not provide due process

 protections guaranteed by the Fifth and Fourteenth Amendments.

 E.        CODE ENFORCEMENT REGIME.

          56.        Chapter 27's format is curious. The first substantive topic—^found in section

27-4 even before the sections on registration, building standards, and inspections, which

are the core of the ordinance's purpose—is identified as "violations" and "penalties," both

civil and criminal.'*^

           Criminal Enforcement.

          57.        The terms "offense," "violation," and "penalty" are used almost

interchangeably in section 27-4. For example, the first paragraph"^ of section 27-4(a)

begins with the statement that violating a provision of Chapter 27—such as failure to

register a property—is "an offense,"^® and then spells out "criminal penalties" in the form

of fines for committing an offense.'*® Following this, the architecture of section 27-4

inten/veaves criminal and civil violations and penalties in no apparent pattern. Section 27-

4(b) is titled "Criminal penalties," whereas sections 27-4(a) and (c)through (i) are un-titled

and deal with criminal and/or civil penalties.

          58.        Absent from section 27-4 and Chapter 27 overall is a prescription for

identifying when an offense will be civilly prosecuted, criminally prosecuted, or both. More


43 Sec. 27-4.
44 Section 27-4(a) is ladened with words of criminality, for example; "A person who violates a provision of
   this chapter, or who fails to perform an act required of him by this chapter, commits an offense. A person
   commits a separate offense each day during which a violation is committed, permitted, or continued."
45 Sec. 27-4(a).
46 Sec. 27-4(b).


COMPLAINT-Page 20
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                      Page 21 of 38 PageID 21


fundamentally, also lacking is a stated rationale for why Chapter 27 violations can be,

should be, or need be prosecuted as criminal acts when for the most part they are in

essence civil wrongs, except to the extent they raise health or safety issues.

          59.        Section 27-4 contains two intersecting provisions regarding criminal

responsibility and personal liability. Section 27-4(g) assesses criminal responsibility on the

property owner who "either personally or through an employee or agent allows the violation

to exist.       The property owner's responsibility for the violation commences at its inception

rather than for failing to "correct a violation" that has already occurred.''® And,the property

owner is responsible—^for a fine, rather than for failing to cure the violation within a certain

time period—even if an existing violation was unknown to or unidentifiable by the property

owner.''® As a result, the City can criminally enforce against the property owner certain

violations which are obviously attributable only to the tenant—^for example putting trash

out early or keeping a junk motor vehicle on the property—and for which the property

owner is unlikely to have the requisite "culpable mental state"®® required by section 27-

4(c). The result is that criminal responsibility can be assessed against the property owner,

which is usually an entity; but personal liability is not assessed the individual owner(s) of

the property-owning entity.

          60.        In contrast to section 27-4(g), under section 27-4(h) an employee of a

property-owing entity can be "personally liable for a violation of this chapter" if she does


"7 Section 27-4(g)(2).
^ As originally adopted, Section 27-4(g) stated that,"A person commits an offense if he fails to correct a
   violation of this chapter in compliance with any order issued under this chapter that has become final."'^®
   (Emphasis added.)
   Section 27-4.
5° Dallas City Code section 1-5.1, titled "Culpable Mental State" and incorporated in Chapter 27 by section
   27-4{c), states: "The culpable mental state required for the commission of an offense under this chapter
    is governed by Section 1-5.1 of this code."


COMPLAINT-Page 21
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                 Page 22 of 38 PageID 22


not provide to the City—"not later than the fifth calendar day after the date the citation is

issued"—certain specified information about the property owner.®^ Whether such personal

liability for the employee is criminal or civil remains unspecified in Chapter 27.

          61.        So, while personal liability for violation of Chapter 27 does not attach to

individuals who own a property-owning entity, the entity itself can be held "criminally

responsible" for such violation. Also under Chapter 27, the City can pin personal liability

on a property owner's employee who fails or refuses to divulge information about the

property owner (an entity or individual), even while that owner remains protected from

personal liability by the shield of the property-owning entity's corporate form.

          62.        The consequences to the property owner for violating Chapter 27 are often

ill-matched to the violations at issue, extending even to creating a criminal record for the

offender. If afflicted with a criminal penalty, the property owner runs a high risk for

uninsurability or even breach of a loan covenant.

          63.        By attaching "criminal responsibility" to what is in essence a civil wrong, and

by attributing to a property owner culpability for an offense committed by a third party and

unknown to that owner. Chapter 27 imposes an excessive penalty on property owners and

violates the Constitution's prohibition of vague criminal laws.

          64.        The penalty for a criminal offense under Chapter 27 "is punishable by a fine

not to exceed $2,000,®^ with fines for the first conviction set at not less than $150 or not

less than $500, depending upon the violation.®^ Fines are then doubled for the second




51 Sec. 27-4(h).
52 Sec. 27-4(b)(1).
53 Sec. 27-4(b)(2)(A) and (B).

COMPLAINT-Page 22
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                       Page 23 of 38 PageID 23


conviction of the same offense and trebled for the third conviction in any 24-month

period.®^

          Civil Enforcement.

          65.        Chapter 27 speaks in terms of offenses, which can be prosecuted as civil or

criminal but offers no guidelines or criteria for the City's choice. Indeed, the City can

impose a civil and a criminal penalty for the same violation in Sec. 27-4(d). Section 27-

4(d) authorizes the City to bring a civil action for violating Chapter 27, "in addition to

imposing the criminal penalty prescribed In Subsection (b)."^^ That civil action "may

include, but is not limited to" a civil penalty up to $1,000 "for each day during which the

violation Is committed, continued, or permitted.              Chapter 27's threat of a fine up to $1,000

per day, for example for failure to register a rental property, is so disproportionate as to

violate the Eighth Amendment.

          66.        As an alternative to the criminal penalty provided for in section 27-4(b), "the

city may impose administrative penalties, fees, and court costs in accordance with Article

IV-b" of Chapter 27.®^ The "alternative administrative penalty range" for a civil offense

under Article IV-b is the same as for a criminal offense under section 27-4(b).®® How the

City decides which section to utilize for civil prosecution—Sec. 27-4(d) or Sec. 27-4(i)—is

not defined in Chapter 27.




54 Sec. 27-4(b)(3).
55 Sec. 27-4(d)(emphasis added).
56 Id. (Emphasis added.)
57 Sec. 27-4(i). Article IV-b is titled "Administrative Adjudication Procedure For Premises, Property, And
    Certain Other Violations." The authority for Article IV-b is identified as Section 54.044 of the Texas Local
    Government Code.
58 /cf



COMPLAINT-Page 23
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                    Page 24 of 38 PageID 24


          Crime Prevention Addendum for Lease.

          67.        Section 27-43 requires that the lease for a single dwelling unit rental property

must include "a crime prevention addendum" signed by the tenant named in the lease and

by the tenant who will occupy the property, if they are not the same.®®

          68.        For the signer(s) the addendum must disclose "name, date of birth, driver's

license number,®® and signature."®^

          69.        The signature(s) on the addendum "must be separate and apart from the

signatures used to execute other provisions of the lease or rental agreement."®2

          70.        The addendum must state that the property owner "will initiate eviction

proceedings if the tenant, or any guest or co-occupant of the tenant, engages in any

criminal activity®® on the premises of the rental property."®^

          71.        Thus, the property owner can be mandatorily recruited as the City's agent

and compelled to evict a tenant. This can occur even if the tenant is in good standing under

the lease, and regardless of proof(or not) that the tenant "engaged in" criminal activity.

          72.        Since the crime prevention addendum must be signed and attached to the

lease, its execution is a precondition to the property owner's pursuing its business activity

of leasing property. Section 27-43 contains no details on what"engages in" actually means

or who provides proof of the tenant's activity. The basis or rationale for recruiting the

property owner as a quasi-enforcer for the City is not stated. And, under section 27-4 the



59 See 27-43(b) and (c)(1).
5° If the signer does not have a driver's license, then "the number on any other government-issued personal
   identification card containing a photograph of the person" is required. Sec. 27-43(c)(1).
61 Sec27-43(c)(1).
62 Id.
66 "Abatable criminal activity" is defined in sec. 27-43(d).
64 Sec. 27-43(c)(2).


COMPLAINT-Page 24
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                      Page 25 of 38 PageID 25


property owner can be criminally prosecuted for failure to comply with section 27-43. This

is violative of the Constitution's prohibition of vague criminal laws.

          Required Emergency Response.

          73.        Section 27-39(a) titled "Required Emergency Response" repeats in its first

section the requirement in section 27-32(a)(1)(B) to provide information for someone

affiliated with the property to be contacted in the event of an emergency condition (as

defined in both sections) on the property. The emergency condition can relate to the

property ("burst pipe") or the tenant ("serious police incident").®®

          74.        Section 27-39(c) then requires that, "The owner of a rental property . . . or

an authorized agent thereof, must arrive at the property within one hour after the contact

person named in the registration application is notified by the city or emergency response

personnel that an emergency condition has occurred on the property."

          75.        Regardless of whether the tenant or the property itself creates the

emergency condition, the property owner or its agent "must arrive at the property within

one hour..." after being notified by the City. Unstated is what the property owner is then

supposed to do, and at whose direction. This is an improper delegation of the City's

authority in such emergencies.

          76.        The rationale for this requirement is unexplained in section 27-39. As with

other sections of Chapter 27, failure to comply with the emergency response section is an

offense, perhaps criminal. Section 27-39 violates the Constitution's prohibition of vague

criminal laws.




   "An emergency condition includes any fire, natural disaster, collapse hazard, burst pipe, lack of working
   utilities, serious police incident, or other condition that requires an immediate response to prevent harm
   to the property, the occupants of the property, or the public." Sec. 27-39(a).

COMPLAINT-Page 25
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                    Page 26 of 38 PageID 26


          Jury Trial.

          77.        Chapter 27's enforce enforcement provisions are a web of intersecting

duties, responsibilities, and liabilities. The ordinance lacks both minimal guidelines to

inform the citizenry about prosecution of violations, and standards to prevent arbitrary

enforcement. The capstone to these omissions is Chapter 27's failure to proclaim the

property owner's right to a jury trial in both civil and criminal proceedings.


                                        IV. CAUSES OF ACTION

                     COUNT ONE: Chapter 27 requires the propertv owner to
                     submit publiciv to the Citv. in connection with registration of a
                     sinole dwelling unit rental orooertv. an application containing
                     certain business and personal information in violation of the
                     propertv owner's First. Fourth, and Fourteenth Amendments
                     rights to freedom of speech, privacv. and equal protection.

          78.        Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.

          79.        Chapter 27 requires that a fully compliant rental property registration must

be submitted before a property can be occupied or leased.®® Section 27-31(a) requires

that "rental properties . . . must provide a complete registration to the director annually."

An "owner of rental property," landlord, or property manager "commits an offense if he

operates the rental property or otherwise allows a dwelling unit . . . to be occupied or

leased without first submitting a rental registration application that fully complies with

section 27-31. . . ."®^ Failure to comply subjects the property owner to the risk of civil or

criminal prosecution.®®


   Section 27-31(b): "A registration application for a rental property ...must be submitted before the owner
   leases the property."
   Sec. 27-30(a) and (c).
®8 Sec. 27-4.


COMPLAINT-Page 26
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                  Page 27 of 38 PageID 27



          80.        Registration requires submission of three documents—an application, an

affidavit, and a self-inspection form.

          81.        The application requires per sec. 27-32(a) that a property owner provide,

among other items, the following objectionable information;

                     (i) contact information for the holder of any deed of trust or mortgage lien on

          the property, sec. 27-32(a)(1)(D);

                     (ii) contact information for the property owner's casualty insurance carrier,

          sec. 27-32(a)(1)(E):

                     (iii)"the name and mailing address for each principal officer, director, general

          partner, trustee, manager, member, or other person charged with the operation,

          control, or management of the entity," sec. 27-32(a)(3):

                     (iv) "the location of business records pertaining to the rental property," sec.

          27-32(a)(4):

                     (v)"a copy of the owner's current driver's license or other government-issued

          personal identification card containing a photograph of the owner, if the owner is a

          natural person," sec. 27-32(a)(5): and

                     (vi) "a list of all businesses . . .operating out of the property and offering

          goods or services to persons residing at or visiting the property," sec. 27-32(a)(6).

          82.        The information required by these sections has no rational nexus to Chapter

27's purpose. These items of business and personal information are protected from

disclosure by the property owner's expectation of privacy pursuant to the Fourth and

Fourteenth Amendments.




COMPLAINT-Page 27
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                  Page 28 of 38 PageID 28


          83.        Requiring the property owner to submit the application before a property may

be leased creates an unconstitutional condition to the property owner's constitutionally

protected right, pursuant to the Unconstitutional Conditions Doctrine and othenwise, to

engage in the lawful business of leasing private property.

          84.        Compelling the property owner to provide the information required on the

registration application violates the property owner's First Amendment right to protection

against compelled speech.

          85.        Sections 27-30(a) and (c), 27-31, 27-32(a)(1)(D) and (E), and 27-32(a)(3),

(4), (5), (6), and (8) are the subject of this Count One.

                     COUNT TWO: Chapter 27 requires the propertv owner to
                     submit publiciv to the Citv. in connection with registration of a
                     sinole dwelling unit rental prooertv. an affidavit and a self-
                     inspection form in violation of the propertv owner's Fifth and
                     Fourteenth Amendments right to protection from self-
                     incrimination.


          86.        The affidavit requires the property owner to provide a sworn statement as to

certain legal issues about which the property owner is not qualified to comment. For

example, whether a property's current operation complies with the City's zoning ordinance

is not a question which can be fairly asked of or answered by a non-lawyer or even many,

if not most, lawyers.

          87.        The self-inspection form requires the property owner to report via a

checklist—based upon a recent inspection of the property—on the condition of the

property's interior and exterior in specified categories. Neither the property owner nor its

agent is likely to have the requisite qualifications or expertise on these matters.

          88.        Requiring the property owner to submit the affidavit and the self-inspection

form before a property may be leased creates an unconstitutional condition to the property

COMPLAINT-Page 28
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                Page 29 of 38 PageID 29


owner's constitutionally protected right, pursuant to the Unconstitutional Conditions

Doctrine and otherwise, to engage in the lawful business of leasing private property.

          89.        Compelling the property owner to provide the information required by the

affidavit and self-inspection form violates the property owner's First Amendment right to

protection against compelled speech.

          90.        Section 27-32(b) is the subject of this Count Two.

                     COUNT THREE: Chapter 27's requirement that the propertv
                     owner submit publiclv to the Citv. in connection with
                     registration of a single dwelling unit rental propertv. "anv
                     additional information . . .that the director deems necessarv"
                     violates the propertv owner's Fifth and Fourteenth
                     Amendments rights to due process and eoual protection.

          91.        Section 27-32(a)(8) authorizes the City to require from the registering

property owner "any additional information.. .that the director deems necessary to aid in

the determination of whether the registration application will be deemed complete."

          92.        This provision is an open invitation to requiring production by the property

owner of privacy-protected personal information in violation of the Fourth Amendment.

Further, section 27-32(a)(8) is devoid of standards or criteria governing what additional

information may be requested. As a result, the "additional information" required from one

property owner can be different from that required from other property owners in violation

of the Fourteenth Amendments equal protection requirement.

          93.        Sections 27-5, 27-32(a)(8), 27-38(b)(10), and 27-42 are the subject of this

Count Three.




COMPLAINT-Page 29
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                 Page 30 of 38 PageID 30


                     COUNT FOUR: Chapter 27's property registration requires
                     the owner of a single dwelling unit rental property to maintain
                     at a location in the City, and to provide access bv the City to.
                     certain business records and personal information in violation
                     of the property owner's First Fourth. Fifth, and Fourteenth
                     Amendments rights to freedom of speech, orivacv. and
                     protection from unlawful search and seizure.

          94.        Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.

          95.        Sections 27-38 and 27-32(a)(4) require that certain business records of the

property owner be kept physically within the City of Dallas and be made available to the

City upon request. The information in these business records as well as the records

themselves are property—^for example,"leases .. .applicable to the property"—subject to

protection within the property owner's expectation of privacy. This business records

requirement violates the Fourth and Fourteenth Amendments which protect the citizen's

right of privacy and prohibit search without due process. In addition, certain records

required by section 27-38 to be maintained by the property owner have no rational nexus

to Chapter 27's purpose.

          96.        Sections 27-32(a)(4), and 27-38(a) and (b) are the subjects of this Count

Four.

                     COUNT FIVE: The Citv's inconsistent interpretation and
                     application of Chapter 27's minimum propertv standards
                     results in erratic and ineffective communications with, and
                     inequitable fines and penalties imposed upon, propertv
                     owners in violation of their Fifth and Fourteenth Amendments
                     riohts to due process and eoual protection.

          97.        Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.




COMPLAINT-Page 30
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                  Page 31 of 38 PageID 31



          98.        The City's interpretation and application of the minimum property standards

set forth in sections 27-5 and 27-42 are rife with procedural and substantive

inconsistencies. The lack of uniformity produced by repeated inspections of a property by

different inspectors results in excessively expensive and inequitable code enforcement,

where the property owner is compelled to guess about correct steps to achieve Code

compliance and then bears the brunt of unequal citations and fines.

          99.        Chapter 27's failure to require specificity in a notice of violation deprives the

property owner of notice and an opportunity to cure the violation, and thereby constitutes

a violation of due process guaranteed by the Fifth and Fourteenth Amendments.

          100. Variations among inspectors are understandable and                       unavoidable,

depending in part on an inspector's expertise or particular interests. Inequity arises,

however, when the same "wrong" is identified by one inspector as a violation at a particular

property but not a violation by a different inspector at some other property. This difference

in outcomes constitutes a denial of equal protection in violation of the Fourteenth

Amendment.

          101. Sections 27-4, 27-5, 27-11, and 27-42 are the subjects of this Count Five.

                     COUNT SIX: The warrant authorizations in Chanter 27 are
                     devoid of procedural substance regarding notice to and
                     participation bv the prooertv owner in the warrant issuance
                     process. Conseauentlv. such warrants cannot constitute
                     constitutionallv reouired ore-compliance review, and issuance
                     of such warrants violates a prooertv owner's Fourth. Fifth, and
                     Fourteenth Amendments rights to orivacv. due process, and
                     equal protection.

          102. Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.




COMPLAINT-Page 31
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19           Page 32 of 38 PageID 32



          103. Chapter 27 has three provisions regarding court orders for access: section

27-3.1(c)(1)... section 27-5(b) authorizes an administrative search warrant for an interior

or exterior inspection of the property itself; and, section 27-38(a) authorizes issuance of a

court order to inspect a property owner's business records. Beyond single sentences in

each, these sections provide no guidance as to which court can issue an order, what

hearing is required, or what prior notice is required for that hearing. Participation by the

property owner in the hearing process is treated as a nullity. As a result, the property owner

is required to produce private data or "allow" inspection without an effective opportunity for

pre-compliance review. Further, the property owner's compelled disclosure of private

information as part of a property's registration—^which registration is itself a precondition

to renting the property—creates an unconstitutional condition to the property owner's

constitutionally protected right, pursuant to the Unconstitutional Conditions Doctrine and

othen/vise, to engage in the lawful business of leasing private property. These omissions

and deficiencies, individually and collectively, violate the property owner's Fourth, Fifth,

and Fourteenth Amendment rights to protection from unlawful search, due process, and

equal protection.

          104. Sections 27-3.1(c)(1), 25-5(a) and (b), and 27-38(a) are the subjects of this

Count Six.




COMPLAINT-Page 32
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                      Page 33 of 38 PageID 33




                     COUNT SEVEN: (i) Defining a violation or offense as
                     recurring daily and thereby allowing imposition of a daily fine
                     or penalty. (W) failing to delineate standards and criteria for
                     prosecuting violations as civil and/or criminal, and (iii) the
                     undue criminalization of civil wrongs—^these components of
                     Chapter 27. singly or in tandem, violate a property owner's
                     rights under the Fifth. Eighth, and Fourteenth Amendments to
                     due process, egual protection, and freedom from excessive
                     fines.

          105. Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.

          106. Chapter 27's provisions for civil and criminal violations, penalties, and fines

are a convoluted and disorderly conjunction of notions regarding responsibility, liability,

fines, penalties, and mental state,®® resulting in violation of a property owner's rights under

the Fifth, Eighth, and Fourteenth Amendments.

          107. The "fines" for criminal offenses and the "administrative penalties" for civil

offenses are treated separately. The fine for a criminal conviction—not less than $150 for

certain violations and not less than $500 for others, for a first conviction—can be doubled

or trebled if repeated within prescribed time periods.^® In contrast, a civil penalty is "not to

exceed $1,000 for each day during which the violation is committed, or permitted."^^ Given

the fact that, for example, a notice of violation can be dated the first but not mailed until

thelOth and not received by the property owner until the 17th, compounding a civil penalty

daily even before the property owner knows the violation exists is an excessive fine in

violation of the Eighth Amendment.



   Sec. 27-4(c) and its reference to Dallas City Code sec. 1-5.1 titled "Culpable Mental State."
70 Sec. 27-4(b)(3).
71 Sec. 27-4(d).

COMPLAINT-Page 33
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19          Page 34 of 38 PageID 34


           108. Plaintiff does not dispute that Chapter 27's minimum property standards in

section 27-11 are established and widely used in the property industry. The problem in

Dallas is that under Chapter 27 the same violation can be cited as a criminal matter for

one property and a civil matter for another property. This creates fundamental unfairness

in applying the standards, and that unfairness is a denial of equal protection required by

the Fourteenth Amendment.

          109. The fact that certain Chapter 27 violations can be "prosecuted" as criminal

violations, with all the consequential harm that such a conviction can cause, produces an

excessive penalty in violation of the Eighth Amendment. For example, if a tenant piles

trash for pick up too far in advance of the designated date for that neighborhood, the City

can prosecute the property owner for a criminal offense he knew nothing about until days

or weeks after it occurred. Or, an inspector can determine that certain electrical wiring,

while not a matter of health or safety, is not code compliant. The property owner might

have known about the wiring situation but considered it code compliant. The outcome of

these and many similar disputes, which in essence are civil wrongs, can be a criminal

conviction, thereby subjecting the property owner to undue risks for breach of a loan

covenant, uninsurability or increased insurance premium, and/or prompt denial of a loan

application because of a criminal record. These and other risks established by the

architecture of Chapter 27 create excessive fines and cruel and unusual punishment in

violation of the Eighth Amendment.

          110. This intentional overlapping of civil and criminal violations, without

differentiation as to their prosecution and sometimes even their penalty, creates an

insurmountable vagueness deficiency for these Chapter 27 provisions. The ordinance's


COMPLAINT-Page 34
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19                   Page 35 of 38 PageID 35


failing to give fair notice of the conduct being punished, and its absence of standards

thereby inviting arbitrary enforcement, are constitutionally prohibited.

           111. Sections 27-4(b)(3), (c), and (d), and 27-11 are the subject of this Count

Seven.

                     COUNT EIGHT: Chapter 27's omission of anv statement
                     enunciating the prooertv owner's right to a iurv trial in civil and
                     criminal proceedings, as provided under Texas law, creates an
                     undue risk of depriving that owner of its Seventh Amendment
                     right to trial bv iurv.

          112. Chapter 27 fails to enunciate a property owner's right to a jury trial in civil

and criminal proceedings where Chapter 27 violations and other Chapter 27-related

matters are contested. For a property owner to be fully protected in exercising its Seventh

Amendment right to trial by jury, as provided by Texas law, that right is best stated in the

text of Chapter 27 itself.

                     COUNT NINE: Violation of 42 U.S.C. S 1983: The
                     unconstitutional provisions of Chapter 27 deprive prooertv
                     owners in Dallas. Texas, of rights, privileges, and immunities
                     secured bv the United States Constitution and federal laws.


          113. Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.

          114. The City of Dallas was acting under color of law when it passed Chapter 27,

and all agents of the City of Dallas attempting to effectuate or enforce Chapter 27 are, and

will be, acting under the color of law as shown,for example, by the Notice of Violation sent

to MA LEG PARTNERS 1 by the City.72




^2 See H 22 supra.


COMPLAINT-Page 35
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19             Page 36 of 38 PageID 36


          115. Chapter 27 has deprived Plaintiff, and subjects Plaintiff to future deprivation,

of rights secured by the Constitution and federal law. Accordingly, Plaintiff is entitled to a

declaration that the sections of Chapter 27 identified herein are unconstitutional, and to

injunctive relief both prohibiting the effectuation and enforcement of those identified

sections and remedying the discriminatory effects resulting from the enactment,

effectuation, and enforcement of Chapter 27. Further, Plaintiff is entitled to recover

damages suffered as a result of the enactment, effectuation, and enforcement of Chapter

                               V. DECLARATORY JUDGMENT.

          116. Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.

          117. Plaintiff seeks a declaratory judgment, pursuant to 28 U.S.C. § 2201 and

Fed. R. Civ. P. 57, declaring that certain Chapter 27 provisions and the City's policies,

practices, and actions enforcing those provisions, as identified hereinabove, have violated

and continue to violate Plaintiff's constitutional rights, as referenced and specified herein,

and therefore must be declared unconstitutional.

          118. The declaratory judgment sought by Plaintiff will serve a useful purpose in

clarifying and settling the legal relations at issue herein, and will terminate and afford relief

from the uncertainty, insecurity and controversy giving rise to this proceeding. Further,

granting this declaratory relief to Plaintiff will resolve elements of this dispute and will

prevent the City from unlawfully using sections of Chapter 27 to defeat others'

constitutional rights.




COMPLAINT-Page 36
610-007 -Complaint
     Case 3:19-cv-00219-M Document 1 Filed 01/28/19             Page 37 of 38 PageID 37


                                    VI. ATTORNEYS' FEES.

          119. Plaintiff incorporates by this reference all of the preceding paragraphs as if

fully set forth herein.

          120. As a result of the City's actions, Plaintiff has been required to obtain legal

counsel to bring this suit, and has agreed to pay reasonable and necessary attorney's fees

and costs. Pursuant to 28 U.S.C. §§ 2201 etseq. and 42 U.S.C.§ 1988(b), Plaintiff seeks

recovery of those fees and expenses for the legal services rendered in bringing this suit

and obtaining the relief sought herein.

                                      VII. JURY DEMAND

          121. Plaintiff requests a jury trial to the extent allowed on issues set forth herein.


                                 VIII. REQUEST FOR RELIEF

          WHEREFORE, Plaintiff MA LEG PARTNERS 1 respectfully requests that this

Court, upon notice and hearing, enter judgment in favor of MA LEG PARTNERS 1 and

against the City of Dallas for the following:

         (i) a declaration invalidating as unconstitutional and othen/vise contrary to

applicable federal and state laws, as applicable, the provisions of Chapter 27 identified

hereinabove;

          (ii) a permanent injunction prohibiting the enforcement or threatened enforcement

of Chapter 27.

          (iii) an award of reasonable attorney's fees and expenses incurred in this suit;

         (iv) an award of costs of suit; and

         (v) such other and further relief as this Court deems just and appropriate.




COMPLAINT-Page 37
610-007 -Complaint
    Case 3:19-cv-00219-M Document 1 Filed 01/28/19   Page 38 of 38 PageID 38



                                          Respectfully submitted,


Dated; January 28, 2019                   /s/Richard B. Schiro
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COMPLAINT- Page 38
610-007 -Complaint
